Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 1 of 32 Page ID #1142




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                )
  IN RE: PARAQUAT PRODUCTS                      )
                                                    Case No. 3:21-md-03004-NJR
  LIABILITY LITIGATION,                         )
                                                )
                                                    MDL No. 3004
                                                )
  This Document Relates to Cases Identified     )
                                                    Memorandum in Support of
  in Notice of Motion and Proposed Order        )
                                                    Motion to Dismiss
                                                )



    DEFENDANT CHEVRON U.S.A. INC.’S MEMORANDUM IN SUPPORT OF ITS
      CONSOLIDATED PARTIAL MOTION TO DISMISS CURRENT ACTIONS

      Steven N. Geise                               Leon F. DeJulius, Jr.
      JONES DAY                                     Traci L. Lovitt
      4655 Executive Drive, Suite 1500              Sharyl A. Reisman
      San Diego, CA 92121                           JONES DAY
      Telephone: (858) 314-1200                     250 Vesey Street
      Fax: (844) 345-3178                           New York, NY 10281
      sngeise@jonesday.com                          Telephone: (212) 326-3939
                                                    Fax: (212) 755-7306
      Joseph C. Orlet                               lfdejulius@jonesday.com
      Bryan Hopkins                                 tlovitt@jonesday.com
      Megan Ann Scheiderer                          sareisman@jonesday.com
      HUSCH BLACKWELL LLP
      190 Carondelet Plaza, Suite 600               Jihan E. Walker
      St. Louis, MO 63105                           JONES DAY
      Telephone: (314) 480-1500                     77 West Wacker Drive, Suite 3500
      Fax: (314) 480-1505                           Chicago, IL 60601
      Joseph.Orlet@huschblackwell.com               Telephone: (312) 782-3939
      Bryan.Hopkins@huschblackwell.com              Fax: (312) 782-8585
      Megan.Scheiderer@huschblackwell.com           jihanwalker@jonesday.com


                               Counsel for Chevron U.S.A. Inc.
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 2 of 32 Page ID #1143




                                                    TABLE OF CONTENTS

                                                                                                                                     Page
 TABLE OF AUTHORITIES ......................................................................................................... ii
 INTRODUCTION ......................................................................................................................... 1
 LEGAL STANDARD .................................................................................................................... 2
 ARGUMENT ................................................................................................................................. 2
 I.      MANY OF PLAINTIFFS’ CLAIMS ARE TIME-BARRED .............................................................. 2
         A.      Many Claims Are Barred by State Statutes of Repose ................................................ 4
         B.      Many Claims Are Barred by Applicable Statutes of Limitations ................................ 8
         C.      Most Warranty Claims Are Also Time-Barred .......................................................... 11
 II.     PLAINTIFFS CANNOT REPACKAGE PRODUCTS LIABILITY CLAIMS AS
         NUISANCE CLAIMS ............................................................................................................... 13
         A.      Courts Do Not Allow Public Nuisance Claims To Be Based Solely on the
                 Sale of Lawful Products, Absent Additional Allegations of Wrongdoing ................ 13
         B.      Plaintiffs Have Not Alleged Interference with a “Public Right” ............................... 15
         C.      In Some States, the Nuisance Claims Also Fail Because Plaintiffs Have
                 Not and Cannot Allege That Defendants “Controlled” the Paraquat ........................ 17
 III.    CHEVRON MUST BE DISMISSED FROM ALL CLAIMS BASED ON
         POST-1990 EXPOSURES........................................................................................................ 18
 CONCLUSION ............................................................................................................................ 20




                                                                       i
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 3 of 32 Page ID #1144




                                                TABLE OF AUTHORITIES

                                                                                                                               Page(s)
 CASES
 Albrecht v. Gen. Motors Corp.,
    648 N.W.2d 87 (Iowa 2002) ......................................................................................................6
 Allison v. McGhan Med. Corp.,
     184 F.3d 1300 (11th Cir. 1999) .................................................................................................7
 Angle v. Koppers, Inc.,
    42 So. 3d 1 (Miss. 2010) ..........................................................................................................10
 Appletree Square 1 Ltd. P’ship v. W.R. Grace & Co.,
    815 F. Supp. 1266 (D. Minn. 1993) .........................................................................................17
 Ashcroft v. Iqbal,
    556 U.S. 662 (2009) .......................................................................................................2, 18, 19
 Bagby v. Gen. Motors, LLC,
    No. 17-cv-00147, 2018 WL 2388595 (S.D. Ind. May 25, 2018)...............................................5
 Bagnell v. Ford Motor Co.,
    678 S.E.2d 489 (Ga. Ct. App. 2009) ..........................................................................................7
 Bd. of Comm’rs v. Tenn. Gas Pipeline Co., LLC,
     29 F. Supp. 3d 808 (E.D. La. 2014) .........................................................................................15
 Bd. of Water Works Trs. of Des Moines v. SAC Cnty. Bd. of Supervisors,
     890 N.W.2d 50 (Iowa 2017) ....................................................................................................17
 Blazek v. Nicolet, Inc.,
    527 N.E.2d 568 (Ill. App. Ct. 1988) ..........................................................................................5
 Boyce v. Cassese,
    941 So.2d 932 (Ala. 2006) .........................................................................................................8
 Boyle v. Gen. Motors Corp.,
    468 Mich. 226 (2003) ................................................................................................................9
 Burlington N. & Santa Fe Ry. Co. v. Grant,
    505 F.3d 1013 (10th Cir. 2007) ...............................................................................................18
 Cal. Pub. Emps.’ Ret. Sys. v. ANZ Sec., Inc.,
    137 S. Ct. 2042 (2017) ...............................................................................................................8
 Camden Cnty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp.,
   273 F.3d 536 (3d Cir. 2001).....................................................................................................14
 Campbell v. Machias Sav. Bank,
   865 F. Supp. 26 (D. Me. 1994) ..................................................................................................9
 Capitol Props. Grp., LLC v. 1247 Ctr. St., LLC,
    770 N.W.2d 105 (Mich. Ct. App. 2009) ..................................................................................16

                                                                     ii
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 4 of 32 Page ID #1145




                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                              Page(s)
 Cavender v. Medtronic, Inc.,
    No. 16-cv-232, 2017 WL 1365354 (N.D. Ind. Apr. 14, 2017) ..................................................5
 Cherokee Nation v. McKesson Corp.,
    No. 18-cv-056, 2021 WL 1181176 (E.D. Okla. Mar. 29, 2021)..............................................16
 Cincinnati v. Beretta U.S.A. Corp.,
    768 N.E.2d 1136 (Ohio 2002)..................................................................................................15
 City of Bloomington v. Westinghouse Elec. Corp.,
     891 F.2d 611 (7th Cir. 1989) ...................................................................................................17
 City of Chi. v. Am. Cyanamid Co.,
     823 N.E.2d 126 (Ill. App. Ct. 2005) ........................................................................................16
 City of Chi. v. Beretta U.S.A. Corp.,
     821 N.E.2d 1099 (Ill. 2004) .....................................................................................................15
 City of Gary ex rel. King v. Smith & Wesson Corp.,
     801 N.E.2d 1222 (Ind. 2003) ...................................................................................................15
 City of Phila. v. Beretta U.S.A., Corp.,
     126 F. Supp. 2d 882 (E.D. Pa. 2000) ...........................................................................13, 14, 17
 City of Phila. v. Beretta U.S.A. Corp.,
     277 F.3d 415 (3d Cir. 2002)...............................................................................................16, 18
 City of Princeton v. Transamerica Delaval, Inc.,
     No. 83 C 3155, 1985 WL 8052 (N.D. Ill. May 30, 1985) .......................................................12
 City of St. Louis v. Benjamin Moore & Co.,
     226 S.W.3d 110 (Mo. 2007) (en banc) ....................................................................................16
 City of St. Louis v. Cernicek,
     No. 02CC-1299, 2003 WL 22533578 (Mo. Cir. Ct. Oct. 15, 2003) ........................................14
 Cnty. of Santa Clara v. Atl. Richfield Co.,
    40 Cal. Rptr. 3d 313 (Ct. App. 2006) ......................................................................................15
 Cobbley v. City of Challis,
    139 P.3d 732 (Idaho 2006).......................................................................................................17
 Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media,
   140 S. Ct. 1009 (2020) .............................................................................................................18
 Comet Delta, Inc. v. Pate Stevedore Co. of Pascagoula, Inc.,
   521 So.2d 857 (Miss. 1988) .....................................................................................................16
 Crabtree ex rel. Kemp v. Est. of Crabtree,
    837 N.E.2d 135 (Ind. 2005) .....................................................................................................20



                                                                   iii
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 5 of 32 Page ID #1146




                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                  Page(s)
 Cramer v. Ethicon, Inc.,
    No. 20-cv-95, 2021 WL 243872 (W.D.N.C. Jan. 25, 2021) ......................................................7
 CTS Corp. v. Waldburger,
    573 U.S. 1 (2014) .......................................................................................................................4
 Cutter v. Biomet, Inc.,
    244 F. Supp. 3d 793 (N.D. Ind. 2017) .......................................................................................3
 Damron v. Media Gen., Inc.,
   3 S.W.3d 510 (Tenn. Ct. App. 1999) .........................................................................................6
 Descoteau v. Analogic Corp.,
    696 F. Supp. 2d 138 (D. Me. 2010) ...........................................................................................9
 Det. Bd. of Educ. v. Celotex Corp.,
    493 N.W.2d 513 (Mich. Ct. App. 1992) ..................................................................................14
 DiLeo v. Ernst & Young,
    901 F.2d 624 (7th Cir. 1990) .....................................................................................................6
 Drayton v. City of Lincoln City,
    260 P.3d 642 (Or. Ct. App. 2011) ............................................................................................16
 Fresh Air for the Eastside, Inc. v. Waste Mgmt. of N.Y., L.L.C.,
    405 F. Supp. 3d 408 (W.D.N.Y. 2019) ....................................................................................16
 Giordano v. Mkt. Am., Inc.,
    941 N.E.2d 727 (N.Y. 2010) ....................................................................................................11
 GLJ, Inc. v. United States,
    505 F. Supp. 3d 863 (S.D. Iowa 2020) ....................................................................................15
 Golden v. Diocese of Buffalo,
    184 A.D.3d 1176 (N.Y. App. Div. 2020) ................................................................................16
 Good v. Howmedica Osteonics Corp.,
    Nos. 15-cv-10133, 15-cv-10134, 2015 WL 8175256 (E.D. Mich. Dec. 8, 2015) .....................9
 Grayson v. Lockheed Martin Corp.,
    No. 20-cv-1770, 2021 WL 2873465 (M.D. Fla. May 13, 2021) .............................................15
 Hanlin Grp., Inc. v. Int’l Mins. & Chem. Corp.,
    759 F. Supp. 925 (D. Me. 1990) ..............................................................................................16
 Hopi Tribe v. Ariz. Snowbowl Resort Ltd. P’ship,
    430 P.3d 362 (Ariz. 2018)........................................................................................................15
 Ileto v. Glock, Inc.,
     349 F.3d 1191 (9th Cir. 2003) .................................................................................................15



                                                                      iv
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 6 of 32 Page ID #1147




                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                               Page(s)
 In re Bair Hugger Forced Air Warming Devices Prods. Liab. Litig.,
     999 F.3d 534 (8th Cir. 2021) .....................................................................................................3
 In re Chinese-Manufactured Drywall Prods. Liab. Litig.,
     MDL No. 2047, 2020 WL 2425783 (E.D. La. May 12, 2020) ..................................................9
 In re Gen. Motors LLC Ignition Switch Litig.,
     No. 14-md-2543, 2019 WL 952348 (S.D.N.Y. Feb. 27, 2019) .................................................6
 In re Lead Paint Litig.,
     924 A.2d 484 (N.J. 2007).........................................................................................................14
 In re Methyl Tertiary Butyl Ether Prods. Liab. Litig.,
     457 F. Supp. 2d 298 (S.D.N.Y. 2006)......................................................................................17
 In re Opioid Litig.,
     No. 400000/2017, 2018 WL 3115102 (N.Y. Sup. Ct. June 18, 2018).....................................17
 In re Watson Fentanyl Patch Prods. Liab. Litig.,
     977 F. Supp. 2d 885 (N.D. Ill. 2013) .........................................................................................3
 In re Yasmin & Yaz (Drospirenone) Mktg., Sales Pracs. & Prods. Liab. Litig.,
     No. 09-md-02100, 2011 WL 1375011 (S.D. Ill. Apr. 12, 2011) ...............................................3
 Jerkins v. Lincoln Elec. Co.,
     103 So. 3d 1 (Ala. 2011) ............................................................................................................8
 Johnson Cnty. v. U.S. Gypsum Co.,
    580 F. Supp. 284 (E.D. Tenn. 1984) ........................................................................................18
 Kitsap Cnty. v. Kev, Inc.,
     720 P.2d 818 (Wash. 1986) (en banc)......................................................................................16
 Leppink v. Water Gremlin Co.,
    944 N.W.2d 493 (Minn. Ct. App. 2020) ..................................................................................16
 Libbey v. Vill. of Atl. Beach,
    982 F. Supp. 2d 185 (E.D.N.Y. 2013) .....................................................................................19
 Louisiana v. Rowan Cos.,
    728 F. Supp. 2d 896 (S.D. Tex. 2010) .....................................................................................16
 Marshall v. Hyundai Motor Am.,
   51 F. Supp. 3d 451 (S.D.N.Y. 2014)........................................................................................11
 May v. AC & S, Inc.,
   812 F. Supp. 934 (E.D. Mo. 1993)...........................................................................................12
 Mayo v. Simon,
   646 So. 2d 973 (La. Ct. App. 1994) .........................................................................................12



                                                                     v
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 7 of 32 Page ID #1148




                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                               Page(s)
 McCann v. Foster Wheeler LLC,
   48 Cal. 4th 68 (2010) .................................................................................................................3
 McLaughlin v. Superintending Sch. Comm. of Lincolnville,
   832 A.2d 782 (Me. 2003) ...........................................................................................................9
 Mitchell v. Mich. Dep’t of Corr.,
    318 N.W. 2d 507 (Mich. Ct. App. 1982) .................................................................................17
 Moran v. Fed. Nat’l Mortg. Ass’n,
   No. 12-cv-212, 2012 WL 2919529 (E.D. Va. July 17, 2012)..................................................16
 Murphy v. Mancari’s Chrysler Plymouth, Inc.,
   887 N.E.2d 569 (Ill. App. Ct. 2008) ..........................................................................................4
 Murphy v. Spelts–Schultz Lumber Co. of Grand Island,
   481 N.W.2d 422 (Neb. 1992)...................................................................................................10
 Newton v. MJK/BJK, LLC,
    469 P.3d 23 (Idaho 2020).........................................................................................................15
 Nix v. Chemours Co. FC, LLC,
    456 F. Supp. 3d 748 (E.D.N.C. 2019)......................................................................................16
 Penelas v. Arms Tech., Inc.,
    No. 99-1941, 1999 WL 1204353 (Fla. Cir. Ct. Dec. 13, 1999) ...............................................17
 People v. ConAgra Grocery Prods. Co.,
    17 Cal. App. 5th 51 (2017) ......................................................................................................15
 Phillips 66 Co. v. Lofton,
    94 So. 3d 1051 (Miss. 2012) ....................................................................................................10
 Price v. Philip Morris, Inc.,
     848 N.E.2d 1 (Ill. 2005) ...........................................................................................................18
 Ramirez v. City of Chi.,
    129 N.E.3d 612 (Ill. App. Ct. 2019) ........................................................................................20
 Reg’l Airport Auth. of Louisville & Jefferson Cnty. v. LFG, LLC,
    255 F. Supp. 2d 688 (W.D. Ky. 2003) .....................................................................................15
 Reybold Grp., Inc. v. Chemprobe Techs., Inc.,
    721 A.2d 1267 (Del. 1998) ......................................................................................................18
 Richards v. Eli Lilly & Co.,
    355 F. App’x 74 (7th Cir. 2009) ..............................................................................................12
 Robertson v. Allied Signal, Inc.,
    914 F.2d 360 (3d Cir. 1990).....................................................................................................18



                                                                    vi
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 8 of 32 Page ID #1149




                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                               Page(s)
 Rosenfeld v. Thoele,
    28 S.W.3d 446 (Mo. Ct. App. 2000)........................................................................................17
 Russell Corp. v. Sullivan,
    790 So. 2d 940 (Ala. 2001) ......................................................................................................15
 Sadler v. State,
    56 S.W.3d 508 (Tenn. Ct. App. 2001) .....................................................................................16
 Simply Thick, LLC v. Thermo Pac, LLC,
    No. 13-cv-1036, 2014 WL 3543403 (E.D. Mo. July 17, 2014) ...............................................20
 Snyder v. Bos. Whaler, Inc.,
    892 F. Supp. 955 (W.D. Mich. 1994) ......................................................................................12
 Spitzer v. Sturm, Ruger & Co.,
     309 A.D.2d 91 (N.Y. App. Div. 2003) ....................................................................................17
 State ex rel. Jennings v. Purdue Pharma L.P.,
     No. N18C-01-223, 2019 WL 446382 (Del. Super. Ct. Feb. 4, 2019)......................................14
 State v. Lead Indus. Ass’n,
     951 A.2d 428 (R.I. 2008) .......................................................................................13, 14, 16, 17
 Statler v. Dell, Inc.,
     841 F. Supp. 2d 642 (E.D.N.Y. 2012) .....................................................................................11
 Stumler v. Ferry-Morse Seed Co.,
    644 F.2d 667 (7th Cir. 1981) (per curiam)...............................................................................12
 Thomas v. Countryside of Hastings, Inc.,
    524 N.W.2d 311 (Neb. 1994)...................................................................................................10
 Thunander v. Uponor, Inc.,
    887 F. Supp. 2d 850 (D. Minn. 2012) ......................................................................................13
 Tioga Pub. Sch. Dist. v. U.S. Gypsum Co.,
    984 F.2d 915 (8th Cir. 1993) .............................................................................................13, 14
 Trentadue v. Gorton,
    479 Mich. 378 (2007) ................................................................................................................9
 Vega-Santana v. Nat’l R.R. Passenger Corp.,
    956 F. Supp. 2d 556 (S.D.N.Y. 2013)......................................................................................20
 Waltman v. Fahnestock & Co.,
    792 F. Supp. 31 (E.D. Pa. 1992) ..............................................................................................20
 Williams v. Taylor Mach., Inc.,
    529 So. 2d 606 (Miss. 1988) ......................................................................................................3



                                                                   vii
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 9 of 32 Page ID #1150




                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                    Page(s)
 Yaccarino v. Midland Nat’l Life Ins. Co.,
    No. 11-cv-5858, 2013 WL 3200500 (C.D. Cal. June 17, 2013) ..............................................20
 STATUTES
 Ala. Code § 6-2-38 ...........................................................................................................................8
 Ala. Code § 7-2-725 .......................................................................................................................12
 Ariz. Rev. Stat. Ann. § 47-2725.....................................................................................................12
 Conn. Gen. Stat. § 42a-2-725.........................................................................................................12
 Conn. Gen. Stat. § 52-572m.............................................................................................................7
 Conn. Gen. Stat. § 52-577a ..............................................................................................................7
 Ga. Code § 51-1-11 ..........................................................................................................................7
 735 Ill. Comp. Stat. 5/13-213.......................................................................................................4, 5
 810 Ill. Comp. Stat. 5/2-725...........................................................................................................12
 Ind. Code § 26-1-2-725 ..................................................................................................................12
 Ind. Code § 34-20-3-1 ......................................................................................................................5
 Iowa Code § 614.1 ...........................................................................................................................6
 Ky. Rev. Stat. Ann. § 355.2-725 ....................................................................................................12
 La. Civ. Code Ann. art. 2534 .........................................................................................................12
 La. Stat. Ann. § 51:1409 ................................................................................................................12
 Md. Code, Com. Law § 2-725 .......................................................................................................12
 Me. Rev. Stat. tit. 5, § 205-A ...........................................................................................................9
 Me. Rev. Stat. tit. 14, § 752 .............................................................................................................9
 Mich. Comp. Laws § 445.901........................................................................................................12
 Mich. Comp. Laws § 600.2945........................................................................................................9
 Mich. Comp. Laws § 600.5805 ........................................................................................................9
 Mich. Comp. Laws § 600.5827 ........................................................................................................9
 Minn. Stat. § 336.2-725 .................................................................................................................12
 Miss. Code Ann. § 15-1-49 ............................................................................................................10
 Miss. Code Ann. § 75-2-725 ..........................................................................................................12
 Mo. Rev. Stat. § 400.2-725 ............................................................................................................12
 N.C. Gen. Stat. § 1-46.1 ...................................................................................................................7


                                                                      viii
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 10 of 32 Page ID #1151




                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                   Page(s)
 N.C. Gen. Stat. § 1-50 (1995) ..........................................................................................................7
 N.D. Cent. Code § 41-02-104 ........................................................................................................12
 N.Y. C.P.L.R. § 214-c ....................................................................................................................11
 N.Y. Gen. Bus. Law § 349 .............................................................................................................11
 N.Y. U.C.C. Law § 2-725 ..............................................................................................................12
 Neb. Rev. Stat. § 25-224 ................................................................................................................10
 Neb. Rev. Stat. § 25-21,180 ...........................................................................................................10
 Neb. Rev. Stat. U.C.C. § 2-725......................................................................................................12
 Okla. Stat. tit. 12A, § 2-725 ...........................................................................................................12
 13 Pa. Cons. Stat. § 2725 ...............................................................................................................12
 Tenn. Code Ann. § 29-28-102 .........................................................................................................6
 Tenn. Code Ann. § 29-28-103 .........................................................................................................6
 Tenn. Code Ann. § 47-2-725 .........................................................................................................12
 Tex. Bus. & Com. Code § 2.725 ....................................................................................................12
 U.C.C. § 2-725 .........................................................................................................................11, 12
 Va. Code Ann. § 8.2-725 ...............................................................................................................12
 Wash. Rev. Code § 62A.2-725 ......................................................................................................12
 Wis. Stat. § 402.725 .................................................................................................................11, 12
 OTHER AUTHORITIES
 Black’s Law Dictionary (9th ed. 2009)............................................................................................4
 Gifford, Public Nuisance as a Mass Products Liability Tort,
     71 U. Cinn. L. Rev. 741 (2003) ...............................................................................................14
 2009 N.C. Sess. Laws 420 ...............................................................................................................7
 Restatement (First) of Conflict of Laws (1934) .............................................................................16
 Restatement (Second) of Conflict of Laws (1971) ........................................................................16
 Restatement (Second) of Torts (1979) .....................................................................................16, 17
 Schwartz & Goldberg, The Law of Public Nuisance: Maintaining Rational
    Boundaries on a Rational Tort, 45 Washburn L.J. 541 (2006) ...............................................14




                                                                      ix
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 11 of 32 Page ID #1152




                                         INTRODUCTION
        Defendant Chevron U.S.A. Inc. (“Chevron”) recognizes that the core claims in this MDL—

 product liability claims asserting that Plaintiffs developed Parkinson’s disease because of exposure

 to paraquat—will require factual development before they are ripe for resolution. But Plaintiffs

 have overreached in ways that are properly addressed on the pleadings. To clean up the docket,

 streamline the litigation, narrow the disputes, and focus the parties’ attention on the critical legal

 and factual issues, Defendants seek—through this motion and the motion filed by Defendant

 Syngenta Crop Protection LLC (“Syngenta”), which Chevron joins—to eliminate those cases and

 claims that are not legally viable.

        To start, many of the cases are time-barred, in whole or in part. While some states apply a

 fact-dependent “discovery rule” to determine accrual of tort claims based on latent disease, other

 states have chosen to provide certainty for product manufacturers and distributors through statutes

 of repose that extinguish liability a fixed number of years after the product’s sale. And in some

 states, claims accrue when the disease manifests, even if the plaintiff denies recognizing any causal

 link to the defendant’s conduct. Plaintiffs have also asserted warranty claims, which in most states

 are not subject to any discovery rule and instead expire a fixed number of years after “tender.” In

 states governed by these rules, many Plaintiffs’ claims are time-barred as a matter of law.

        In addition, about half of Plaintiffs have asserted public nuisance claims. That cause of

 action is legally inapposite. Courts around the country have recognized that plaintiffs cannot avoid

 limits on products liability merely by slapping the “nuisance” label on the sale of lawful products.

 This is not a case where a defendant invaded public rights by polluting a common water source or

 the environment through its operations. It is a classic products liability case, involving sale of an

 herbicide that, when applied on private farms, was allegedly dangerous to the individuals exposed

 to it. That means Plaintiffs cannot plausibly allege the elements of public nuisance.

                                                   1
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 12 of 32 Page ID #1153




         Finally, although Plaintiffs acknowledge that Chevron ceased distributing paraquat 35

 years ago, some Plaintiffs nonetheless name Chevron as a Defendant in cases alleging exposure

 that long post-dates that 1986 departure from the market. There is no plausible basis to infer that

 products distributed by Chevron harmed Plaintiffs who were allegedly exposed to paraquat in the

 1990s or 2000s. The Court should dismiss Chevron as a Defendant in those actions.

                                        LEGAL STANDARD
         “To survive a motion to dismiss,” Plaintiffs must allege “sufficient factual matter, accepted

 as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009). “A claim has facial plausibility when the plaintiff pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Id. This requires more than “a sheer possibility” of liability. Id. And while a court must accept

 well-pleaded facts as true and draw reasonable inferences in Plaintiffs’ favor, “legal conclusions”

 and “conclusory statements … do not suffice” to state a claim. Id.

                                             ARGUMENT
 I.      MANY OF PLAINTIFFS’ CLAIMS ARE TIME-BARRED.

         Given that paraquat has been registered for use as an herbicide in the United States for over

 50 years—and, indeed, that Chevron ceased distributing paraquat in 1986—it is not surprising that

 many of the claims in this MDL are time-barred. First, some states have adopted statutes of repose

 that extinguish all liability (or certain forms of liability) a fixed number of years after the sale of a

 product. Second, in some states, causes of action accrue—and the statute of limitations begins to

 run—upon exposure to the allegedly toxic substance, or when symptoms of that exposure manifest

 or are diagnosed, even if the plaintiff did not know about the alleged causal link to the defendant’s

 acts. Third, the majority rule for implied warranty claims is that the cause of action accrues, and

 the limitations period begins to run, at the time of the tender for delivery.

                                                    2
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 13 of 32 Page ID #1154




        Importantly, determining which legal rule applies to any given case requires a choice-of-

 law analysis. Choice-of-law rules are dictated by the forum state, which in the MDL context means

 “where the case originated.” In re Watson Fentanyl Patch Prods. Liab. Litig., 977 F. Supp. 2d

 885, 888 (N.D. Ill. 2013). If a case was directly filed in the MDL, courts treat it as “originating”

 in the state where the plaintiff used the product at issue, or where the plaintiff alleges he would

 otherwise have filed his suit. See In re Yasmin & Yaz (Drospirenone) Mktg., Sales Pracs. & Prods.

 Liab. Litig., No. 09-md-02100, 2011 WL 1375011, at *6 (S.D. Ill. Apr. 12, 2011) (where product

 was used); Cutter v. Biomet, Inc., 244 F. Supp. 3d 793, 800 (N.D. Ind. 2017) (same); In re Bair

 Hugger Forced Air Warming Devices Prods. Liab. Litig., 999 F.3d 534, 539 (8th Cir. 2021)

 (describing order authorizing plaintiffs to designate venue where they would have sued).

        Either way, the “originating” state’s choice-of-law rules might require applying that state’s

 own statute of repose or limitations, if the state treats the issue as “procedural.” E.g., Williams v.

 Taylor Mach., Inc., 529 So. 2d 606, 609 (Miss. 1988). Alternatively, the originating state’s choice-

 of-law rules might require applying the time bars of the state where the underlying tortious conduct

 or injury allegedly occurred. E.g., McCann v. Foster Wheeler LLC, 48 Cal. 4th 68, 87 (2010)

 (whether to apply California or foreign state’s time bars “must be determined through application

 of the governmental interest analysis that governs choice-of-law issues generally”).

        For purposes of this motion, the analysis below sets forth the legal rules that apply to the

 Current Actions in this MDL. The Appendix then identifies, by reference to the applicable choice-

 of-law rules, which cases and claims are governed by each of these legal rules. 1


        1
           Chevron seeks dismissal through this motion only of claims that the pleadings themselves
 establish are time-barred. In certain cases—either because the complaints fail to provide critical
 dates, or because of factual questions relating to the “discovery rule”—more factual development
 will be necessary to determine timeliness. Chevron thus anticipates filing a second round of
 motions addressed to statutes of repose and limitations later in this litigation.

                                                   3
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 14 of 32 Page ID #1155




         A.       Many Claims Are Barred by State Statutes of Repose.

         A statute of repose, like a statute of limitations, is a “mechanism[] used to limit the temporal

 extent or duration of liability for tortious acts.” CTS Corp. v. Waldburger, 573 U.S. 1, 7 (2014).

 But unlike statutes of limitations, which measure that time limit from “‘the date when the claim

 accrued,’” statutes of repose bar any suit “‘brought after a specified time since the defendant

 acted,’” “‘even if this period ends before the plaintiff has suffered a resulting injury.’” Id. at 7-8

 (quoting Black’s Law Dictionary 1546 (9th ed. 2009)). These statutes are designed to provide

 defendants with “a fresh start,” and accordingly are not subject to tolling doctrines. Id. at 9.

         As relevant here, some states have enacted statutes of repose that foreclose product liability

 (or certain types of liability) a certain number of years after the sale of the product. For purposes

 of this MDL, the analysis below takes the conservative approach of treating the end of the alleged

 exposure period as a proxy for the last possible date of sale. For example, if a state has a 15-year

 repose period and a plaintiff alleges exposure from 1970 until 1985, claims encompassed by that

 statute would be barred by no later than 2000 and therefore subject to dismissal here.

         Illinois’ statute of repose requires strict product liability claims to be brought within the

 earlier of “12 years from the date of first sale, lease or delivery of possession by a seller or 10 years

 from the date of first sale, lease or delivery of possession to its initial user, consumer, or other non-

 seller.” 735 Ill. Comp. Stat. 5/13-213(b); see also Murphy v. Mancari’s Chrysler Plymouth, Inc.,

 887 N.E.2d 569, 572 (Ill. App. Ct. 2008) (explaining why this statute of repose is limited to strict

 liability claims). 2


         2
           The statute recognizes two exceptions, neither relevant to any Current Actions. First, if
 “the defendant expressly has warranted or promised the product for a longer period,” the claim is
 not barred. 735 Ill. Comp. Stat. 5/13-213(b). Defendants made no express warranties; Plaintiffs
 do not allege otherwise. Second, “if the injury complained of occurs within [the 12- or 10-year
 period], the plaintiff may bring an action within 2 years after the date on which the claimant knew,
 or through the use of reasonable diligence should have known, of the existence of the personal
                                                    4
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 15 of 32 Page ID #1156




        In cases governed by Illinois law where the alleged paraquat exposure ended more than 10

 years before the Plaintiff sued, strict liability claims must be dismissed. In other words, any suit

 alleging exposure that ended by 2010 or 2011 necessarily involved paraquat that was sold before

 then, and strict-liability claims arising from those sales are barred. 3 See Appx. at pp. 1-2 (list).

        The Indiana statute of repose provides that “a product liability action must be commenced

 … within ten (10) years after the delivery of the product to the initial user or consumer.” Ind.

 Code § 34-20-3-1(b)(2); see, e.g., Bagby v. Gen. Motors, LLC, No. 17-cv-00147, 2018 WL

 2388595, at *1-2 (S.D. Ind. May 25, 2018). This statute applies to claims “in which the theory of

 liability is negligence or strict liability in tort,” Ind. Code § 34-20-3-1(a), and also extends to

 “breach of warranty” claims that allege “tortious personal injury,” Cavender v. Medtronic, Inc.,

 No. 16-cv-232, 2017 WL 1365354, at *6-7 (N.D. Ind. Apr. 14, 2017). 4

        In cases governed by Indiana law, all strict liability, negligence, and warranty claims must

 therefore be dismissed where Plaintiffs’ alleged exposure ended more than ten years before they

 sued. See Appx. at p. 3 (list).




 injury, ... but in no event shall such action be brought more than 8 years after the date on which
 such personal injury ... occurred.” Id. 5/13-213(d). This latter exception does not apply to any of
 Plaintiffs’ otherwise-barred claims because no such Plaintiff alleges that his injury occurred both
 within 12 years after the initial sale of the paraquat and less than 8 years before his suit.
        3
           This includes claims alleging exposure prior to the statute of repose’s enactment in 1979,
 because all such claims accrued after 1979. See 735 Ill. Comp. Stat. 5/13-213(g) (“The provisions
 of this Section ... apply to any cause of action accruing on or after January 1, 1979, involving any
 product which was in or entered the stream of commerce prior to, on, or after January 1, 1979.”);
 see also Blazek v. Nicolet, Inc., 527 N.E.2d 568, 571 (Ill. App. Ct. 1988) (barring a claim brought
 seven years after enactment of statute of repose, because plaintiff had “reasonable amount of time
 after the effective date of the [statute] in which to file her cause of action”).
        4
          Similar to Illinois, if “the cause of action accrues at least eight (8) years but less than ten
 (10) years after that initial delivery,” then “the action may be commenced at any time within two
 (2) years after the cause of action accrues.” Ind. Code § 34-20-3-1(b)(2). None of the Current
 Actions present that scenario, however.

                                                    5
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 16 of 32 Page ID #1157




        In Tennessee, “[a]ny action against a manufacturer or seller of a product for injury to

 person ... must be brought ... within ten (10) years from the date on which the product was first

 purchased for use.” Tenn. Code Ann. § 29-28-103(a); see, e.g., In re Gen. Motors LLC Ignition Switch

 Litig., No. 14-md-2543, 2019 WL 952348, at *3 (S.D.N.Y. Feb. 27, 2019). The statute covers “all

 actions seeking to recover for personal injuries” allegedly “caused by defective or unreasonably

 dangerous products,” “‘under any substantive legal theory in tort or contract.’” Damron v. Media

 Gen., Inc., 3 S.W.3d 510, 512 (Tenn. Ct. App. 1999) (quoting Tenn. Code Ann. § 29-28-102(6)).

        Actions subject to Tennessee’s statute of repose are therefore entirely barred if they were

 brought more than 10 years after Plaintiffs’ alleged exposure (and thus, by definition, more than

 10 years after the paraquat’s purchase for use). See Appx. at p. 4 (list).

        In Iowa, product claims “based upon an alleged defect ... or failure of whatever nature or

 kind, based on the theories of strict liability in tort, negligence, or breach of an implied warranty

 shall not be commenced more than fifteen years after the product was first purchased.” Iowa Code

 § 614.1(2A)(a) 5; e.g., Albrecht v. Gen. Motors Corp., 648 N.W.2d 87, 95 (Iowa 2002).

        In cases governed by Iowa substantive law and involving exposure (and therefore sale)

 more than 15 years before Plaintiffs sued, all strict liability, negligence, and warranty claims must

 therefore be dismissed. See Appx. at p. 5 (list).



        5
           The Iowa statute includes an exception for latent diseases allegedly caused by “exposure
 to a harmful material,” but paraquat does not qualify under the statutory definition of that phrase,
 because neither Iowa nor the federal EPA has determined that paraquat presents “an unreasonable
 risk of injury to health or the environment.” Iowa Code § 614.1(2A)(b)(1)-(2). Iowa’s statute also
 excepts express warranties, see id. § 614.1(2A)(a), but for the reasons discussed supra at n.2, that
 exception does not apply here. Finally, the Iowa statute does not apply if the seller “intentionally
 misrepresents facts about the product or fraudulently conceals information about the product and
 that conduct was a substantial cause of the claimant’s harm.” Iowa Code § 614.1(2A)(a). But
 Plaintiffs have not alleged intentional fraud, let alone sufficiently pleaded any such claim with the
 particularity required by Federal Rule of Civil Procedure 9(b). See DiLeo v. Ernst & Young, 901
 F.2d 624, 627 (7th Cir. 1990).
                                                     6
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 17 of 32 Page ID #1158




        In Georgia, strict product liability claims are barred “after ten years from the date of the

 [product’s] first sale for use.” Ga. Code § 51-1-11(b)(2), (c); see, e.g., Bagnell v. Ford Motor Co.,

 678 S.E.2d 489, 493 (Ga. Ct. App. 2009) (strict liability design-defect claim); Allison v. McGhan

 Med. Corp., 184 F.3d 1300, 1307 (11th Cir. 1999) (strict liability failure-to-warn claim).

        In cases subject to Georgia’s statute of repose and involving exposure more than 10 years

 before Plaintiffs sued, all strict liability claims must be dismissed. See Appx. at p. 6 (list).

        In North Carolina, product liability actions “brought more than 12 years after the date of

 initial purchase” are barred. N.C. Gen. Stat. § 1-46.1. Although this 12-year limit applies only to

 causes of action “that accrue on or after” October 1, 2009, 2009 N.C. Sess. Laws 420 § 3, any

 earlier claims are subject to the more stringent predecessor statute, which imposed a 6-year limit,

 see N.C. Gen. Stat. § 1-50(a)(6) (1995). Both versions of the statute of repose broadly apply to all

 claims seeking “recovery of damages for personal injury ... based upon or arising out of any alleged

 defect or any failure in relation to a product.” Id. § 1-46.1; id. § 1-50(a)(6) (1995); see Cramer v.

 Ethicon, Inc., No. 20-cv-95, 2021 WL 243872, at *4 (W.D.N.C. Jan. 25, 2021) (barring strict

 liability, negligence, implied warranty, and consumer fraud claims).

        Therefore, actions governed by North Carolina law that allege exposure ending more than

 12 years before Plaintiffs sued must be dismissed in their entirety. See Appx. at p. 7 (list).

        Connecticut’s statute of repose bars product liability actions on any theory filed “later than

 ten years from the date that the [defendant] last parted with possession or control of the product.”

 Conn. Gen. Stat. § 52-577a; see also id. § 52-572m(b) (defining product liability claim). 6



        6
           The statute recognizes an exception for claimants who can prove that their harms occurred
 during the “useful safe life of the product,” Conn. Gen. Stat. § 52-577a(c), but Plaintiffs make no
 such allegations. And for the same reasons explained above, the exceptions for express warranties
 or for fraud, see id. § 52-577a(d), do not apply to this MDL either. Supra nn.2 & 5.

                                                    7
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 18 of 32 Page ID #1159




        Actions governed by Connecticut law thus must be dismissed entirely if the paraquat was

 used (and so left Defendants’ control) more than 10 years before the suit. See Appx. at p. 8 (list).

        B.      Many Claims Are Barred by Applicable Statutes of Limitations.

        Even where no statute of repose applies, many claims are nonetheless barred by the statute

 of limitations. The key question is when the limitation period begins to run, which is usually when

 the claim “accrues.” Cal. Pub. Emps.’ Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct. 2042, 2049 (2017).

 State law varies regarding when a claim based on latent injury “accrues.” In some states, the

 “discovery rule” provides that claims do not accrue until a reasonable person would be aware of

 both the injury and its cause. Applying that rule presents questions about actual and constructive

 notice; more factual development is therefore needed before claims governed by that rule can be

 dismissed. In other states, however, accrual turns on the date when the injury occurred or was

 discovered, regardless of the plaintiff’s (lack of) knowledge of its cause. In many cases governed

 by those states’ laws, Plaintiffs’ claims are time-barred based on the face of the Complaints.

        Specifically, for the Current Actions, six states (Alabama, Maine, Michigan, Mississippi,

 Nebraska, and New York) have accrual rules that do not hinge on the plaintiff’s discovery of the

 cause of injury, and many of the claims governed by those states’ law are time-barred. 7

        In Alabama, personal injury claims are governed by a 2-year statute of limitations. Ala.

 Code § 6-2-38(l); Boyce v. Cassese, 941 So.2d 932, 945 (Ala. 2006). Where claims are based on

 exposure to an allegedly toxic substance, if the last exposure occurred prior to 2006, the cause of

 action “accrue[d] on the date of the last exposure to that toxic substance—even if there is no

 manifest injury at that time.” Jerkins v. Lincoln Elec. Co., 103 So. 3d 1, 5 (Ala. 2011).


        7
          Certain other states also apply accrual rules based on the date of injury, but those rules do
 not result in dismissal of any claims in the Current Actions, either because none are governed by
 those states’ laws or because Plaintiffs allege injuries that manifested within the limitation periods.

                                                   8
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 19 of 32 Page ID #1160




        Thus, any claims governed by the Alabama statute of limitations are barred if based on pre-

 2006 exposure to paraquat. For later exposures, “the limitations period is triggered by discovery

 of the damage or injury itself, regardless of whether the plaintiff can identify the cause of the

 damage or whether the full scope of the injury has been recognized.” In re Chinese-Manufactured

 Drywall Prods. Liab. Litig., MDL No. 2047, 2020 WL 2425783, at *4 (E.D. La. May 12, 2020).

 Such claims are barred no later than 2 years after diagnosis. See Appx. at p. 9 (list).

        In Maine, civil actions are governed by a default 6-year limitation period. Me. Rev. Stat.

 tit. 14, § 752. That period begins running at “the point at which a wrongful act produces an injury,”

 McLaughlin v. Superintending Sch. Comm. of Lincolnville, 832 A.2d 782, 788 (Me. 2003), because

 Maine rejects the discovery rule outside three inapplicable contexts, see Descoteau v. Analogic

 Corp., 696 F. Supp. 2d 138, 140-42 (D. Me. 2010). For that same reason, claims under the Maine

 Unfair Trade Practices Act, Me. Rev. Stat. tit. 5, § 205-A, accrue at the time of injury, not

 discovery. Campbell v. Machias Sav. Bank, 865 F. Supp. 26, 33-34 (D. Me. 1994).

        Tort and statutory claims under Maine law, therefore, accrue no later than the date of the

 Plaintiff’s diagnosis, and are barred no later than 6 years later. See Appx at p. 10 (list).

        In Michigan, claims for injuries “caused by or resulting from the production of a product”

 are subject to a 3-year statute of limitations. Mich. Comp. Laws §§ 600.2945(h) & 600.5805(12).

 By statute, these claims accrue when “the wrong upon which the claim is based was done.” Id.

 § 600.5827. Michigan courts have held that “[t]he wrong is done when the plaintiff is harmed.”

 Boyle v. Gen. Motors Corp., 468 Mich. 226, 231 n.5 (2003). Because the statute “precludes the

 use of a broad common-law discovery rule,” Trentadue v. Gorton, 479 Mich. 378, 407 (2007), the

 claim accrues “at the first moment of harm,” Good v. Howmedica Osteonics Corp., Nos. 15-cv-

 10133, 15-cv-10134, 2015 WL 8175256, at *3 (E.D. Mich. Dec. 8, 2015).



                                                   9
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 20 of 32 Page ID #1161




         Claims governed by the Michigan statute of limitations are therefore barred no later than 3

 years after a Plaintiff’s diagnosis. See Appx. at p. 11 (list).

         In Mississippi, a 3-year statute of limitations generally applies to civil claims. Miss. Code

 Ann. § 15-1-49(1); Phillips 66 Co. v. Lofton, 94 So. 3d 1051, 1059 (Miss. 2012). In actions

 involving “latent injury or disease, the cause of action does not accrue until the plaintiff has

 discovered, or by reasonable diligence should have discovered, the injury.” Miss. Code Ann. § 15-

 1-49(2). This provision, importantly, requires only “discovery of the injury, not discovery of the

 injury and its cause.” Angle v. Koppers, Inc., 42 So. 3d 1, 5 (Miss. 2010).

         Claims governed by the Mississippi statute of limitations are thus barred no later than 3

 years after diagnosis or manifestation of symptoms. See Appx. at p. 12 (list).

         In Nebraska, claims for injuries “caused by … the manufacture, construction, design,

 formulation, . . . testing, packaging, or labeling of any product” are governed by a 4-year limitation

 period. Neb. Rev. Stat. §§ 25-21,180 & 25-224. That period “‘begins to run on the date on which

 the party holding the cause of action discovers, or in the exercise of reasonable diligence should

 have discovered, the existence of the injury or damage.’” Murphy v. Spelts–Schultz Lumber Co.

 of Grand Island, 481 N.W.2d 422, 428 (Neb. 1992). “Discovery refers to the fact that one knows

 of the existence of an injury or damage and not that one knows who or what may have caused that

 injury or damage.” Thomas v. Countryside of Hastings, Inc., 524 N.W.2d 311, 313 (Neb. 1994).

         Claims under Nebraska law are thus barred no later than 4 years after diagnosis. See Appx.

 at p. 13 (list).

         In New York, the 3-year statute of limitations applicable to “an action to recover damages

 for personal injury or injury to property caused by the latent effects of exposure to any substance”

 runs “from the date of discovery of the injury by the plaintiff or from the date when through the



                                                   10
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 21 of 32 Page ID #1162




 exercise of reasonable diligence such injury should have been discovered by the plaintiff[.]” N.Y.

 C.P.L.R. § 214-c(2) (emphasis added). Actions under New York’s consumer protection statute,

 N.Y. Gen. Bus. Law § 349, likewise “accrue when a plaintiff is injured by the actions alleged to

 have violated the Statute,” Marshall v. Hyundai Motor Am., 51 F. Supp. 3d 451, 461 (S.D.N.Y.

 2014). Accrual “is not dependent upon any date when discovery of the alleged deceptive practice

 is said to occur.” Statler v. Dell, Inc., 841 F. Supp. 2d 642, 648 (E.D.N.Y. 2012). 8

        Claims governed by the New York rule are thus barred no later than 3 years after Plaintiffs’

 diagnoses. See Appx. at p. 14 (list).

        C.      Most Warranty Claims Are Also Time-Barred.

        The Uniform Commercial Code—adopted in relevant part by most states—imposes a four-

 year limitation period for an action for breach of any contract for sale, U.C.C. § 2-725(1), including

 personal injury actions based on a breach of implied warranty. A handful of states have adopted

 a modified rule with a five- or six-year limitations period. E.g., Wis. Stat. § 402.725(1).

        In those states, the limitation period begins to run “when the breach occurs”—i.e., “when

 tender of delivery is made”—and that is so “regardless of the aggrieved party’s lack of knowledge

 of the breach.” U.C.C. § 2-725(2). In other words, “a breach of an implied warranty is complete

 when a defective product is delivered, and the statute of limitations begins running at delivery,


        8
          For tort claims, if the “discovery of the cause of the injury is alleged to have occurred less
 than five years after discovery of the injury,” the period can be extended for an additional year
 after “such discovery of the cause of the injury.” N.Y. C.P.L.R. § 214-c(4). To invoke the
 extended limitations period, however, a plaintiff must “allege and prove that technical, scientific
 or medical knowledge and information sufficient to ascertain the cause of [the] injury had not been
 discovered, identified or determined” at the earlier time. Id. That inquiry turns not on plaintiff’s
 awareness, but on the broader knowledge of the “technical, scientific or medical community.”
 Giordano v. Mkt. Am., Inc., 941 N.E.2d 727, 733 (N.Y. 2010). This exception is inapplicable here
 because no Plaintiff alleges that (i) the cause of injury was discovered within five years after the
 injury and within one year before bringing suit, or (ii) that the alleged causal link was beyond the
 knowledge of the broader “medical community” when the default limitations period expired.

                                                   11
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 22 of 32 Page ID #1163




 even if the buyer could not discover the defect until later.” Richards v. Eli Lilly & Co., 355 F.

 App’x 74, 75 (7th Cir. 2009); see also Stumler v. Ferry-Morse Seed Co., 644 F.2d 667, 669 (7th

 Cir. 1981) (per curiam) (claim accrued when farmer received “delivery of the seed,” even though

 he could not have discovered he received a different varietal until he harvested tomatoes later). 9

        Under this approach, claims for breach of implied warranty are barred when paraquat was

 delivered more than four, five, or six years before the suit. As relevant to the Current Actions, this

 rule governs in: Alabama, Arizona, Connecticut, Illinois, Indiana, Kentucky, Louisiana, Maryland,

 Minnesota, Mississippi, Missouri, Nebraska, New York, North Dakota, Oklahoma, Pennsylvania,

 Tennessee, Texas, Virginia, Washington, and Wisconsin. 10 See Appx. at pp. 15-27 (list).

        Several states also apply the same transaction-based accrual rule to claims under consumer

 protection statutes. Specifically, claims under Louisiana’s Unfair Trade Practice and Consumer

 Protection Act are barred one year after “the time of the transaction or act which gave rise to this

 right of action.” La. Stat. Ann. § 51:1409(E); see also Mayo v. Simon, 646 So. 2d 973, 976 (La.

 Ct. App. 1994). Michigan’s Consumer Protection Act, Mich. Comp. Laws § 445.901, is governed

 by a 6-year limitation period, with claims accruing upon “occurrence” of the violation, which is

 construed to be “the time of purchase.” Snyder v. Bos. Whaler, Inc., 892 F. Supp. 955, 959 (W.D.


        9
          The discovery rule does apply “where a warranty explicitly extends to future performance
 of the goods,” U.C.C. § 2-725(2), but that rule “is inapplicable to ... implied warranty claims,”
 which “by definition can never explicitly encompass future performance,” City of Princeton v.
 Transamerica Delaval, Inc., No. 83 C 3155, 1985 WL 8052, at *5 n.5 (N.D. Ill. May 30, 1985);
 see also May v. AC & S, Inc., 812 F. Supp. 934, 944 (E.D. Mo. 1993). Plaintiffs here allege implied
 warranty.
        10
           See Ala. Code § 7-2-725; Ariz. Rev. Stat. Ann. § 47-2725; Conn. Gen. Stat. § 42a-2-
 725; 810 Ill. Comp. Stat. 5/2-725; Ind. Code § 26-1-2-725; Ky. Rev. Stat. Ann. § 355.2-725; La.
 Civ. Code Ann. art. 2534 (for good-faith sellers); Md. Code, Com. Law § 2-725; Minn. Stat.
 § 336.2-725; Miss. Code Ann. § 75-2-725; Mo. Rev. Stat. § 400.2-725; Neb. Rev. Stat. U.C.C.
 § 2-725; N.Y. U.C.C. Law § 2-725; N.D. Cent. Code § 41-02-104; Okla. Stat. tit. 12A, § 2-725;
 13 Pa. Cons. Stat. § 2725; Tenn. Code Ann. § 47-2-725; Tex. Bus. & Com. Code § 2.725; Va.
 Code Ann. § 8.2-725; Wash. Rev. Code § 62A.2-725; Wis. Stat. § 402.725.

                                                  12
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 23 of 32 Page ID #1164




 Mich. 1994). Finally, the Minnesota consumer fraud and deceptive trade practices statutes are

 subject to a 6-year limitation period that “begins to run on the date of sale” and “not delayed based

 on the discovery of a potential claim.” Thunander v. Uponor, Inc., 887 F. Supp. 2d 850, 876 (D.

 Minn. 2012). See Appx. at pp. 28-29 (list).

 II.    PLAINTIFFS CANNOT REPACKAGE PRODUCTS LIABILITY CLAIMS AS NUISANCE CLAIMS.

        Claims based solely on sale of a lawful product—without more—sound in product liability,

 not public nuisance. Courts have consistently rejected the “clever, but transparent attempt” to

 evade limits on products liability by invoking the nuisance cause of action instead. City of Phila.

 v. Beretta U.S.A., Corp., 126 F. Supp. 2d 882, 911 (E.D. Pa. 2000). Doctrinally, selling allegedly

 harmful products does not impair a “public right,” which is an element of the tort in all states that

 govern the public nuisance claims in the Current Actions. In some states, the sale of a product

 cannot give rise to nuisance liability for another reason too: The seller lacks “control” over the

 instrumentality of the nuisance when the injury occurred. Either way, Plaintiffs’ contrary theory

 would end-run important limits of products-liability law developed over decades to ensure a

 careful policy balance. Plaintiffs’ public nuisance claims thus fail as a matter of law.

        A.      Courts Do Not Allow Public Nuisance Claims To Be Based Solely on the Sale
                of Lawful Products, Absent Additional Allegations of Wrongdoing.

        Courts have long recognized that, to avoid turning nuisance law into “a monster that would

 devour in one gulp the entire law of tort,” Tioga Pub. Sch. Dist. v. U.S. Gypsum Co., 984 F.2d 915,

 921 (8th Cir. 1993), the boundaries between products liability and nuisance must be respected. A

 claim based solely on the defendant’s sale or distribution of an allegedly harmful product—without

 any other allegations of wrongdoing—sounds in products liability, which is “designed specifically

 to hold manufacturers liable for harmful products.” State v. Lead Indus. Ass’n, 951 A.2d 428, 456

 (R.I. 2008). Otherwise, plaintiffs would be able to end-run important “requirements that surround


                                                  13
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 24 of 32 Page ID #1165




 a products liability action,” which have developed over decades to ensure a careful policy balance.

 See id.; see also Schwartz & Goldberg, The Law of Public Nuisance: Maintaining Rational

 Boundaries on a Rational Tort, 45 Washburn L.J. 541, 552 (2006); Gifford, Public Nuisance as a

 Mass Products Liability Tort, 71 U. Cinn. L. Rev. 741, 767 (2003).

        For these reasons, courts “refus[e] to apply” nuisance law “in the context of injuries caused

 by defective product design and distribution,” absent allegations of some additional wrongdoing.

 City of Phila., 126 F. Supp. 2d at 909; see also, e.g., In re Lead Paint Litig., 924 A.2d 484, 501

 (N.J. 2007) (distinguishing “public nuisance realm” as “entirely different” from selling “ordinary,

 unregulated consumer product”); Camden Cnty. Bd. of Chosen Freeholders v. Beretta, U.S.A.

 Corp., 273 F.3d 536, 540 (3d Cir. 2001) (“[T]he courts have enforced the boundary between the

 well-developed body of product liability law and public nuisance law.”); Lead Indus., 951 A.2d at

 456 (“The law of public nuisance never before has been applied to products, however harmful.”). 11

 Only where there is some “plus” factor—where other aspects of a defendant’s conduct, beyond

 merely selling a lawful product, created the nuisance—have courts allowed claims to proceed. For

 example, the California Court of Appeal allowed a governmental entity to sue lead manufacturers

 on a nuisance theory seeking abatement, not damages, because that claim was “not premised on a

 defect in a product or a failure to warn but on affirmative conduct that assisted in the creation of a



        11
             See also Tioga, 984 F.2d at 920 (failing to find “any North Dakota cases extending the
 application of the nuisance statute to situations where one party has sold to the other a product that
 later is alleged to constitute a nuisance”); Det. Bd. of Educ. v. Celotex Corp., 493 N.W.2d 513, 521
 (Mich. Ct. App. 1992) (“[M]anufacturers, sellers, or installers of defective products may not be
 held liable on a nuisance theory for injuries caused by the defect.”); State ex rel. Jennings v. Purdue
 Pharma L.P., No. N18C-01-223, 2019 WL 446382, at *12 (Del. Super. Ct. Feb. 4, 2019) (“In
 Delaware, public nuisance claims have not been recognized for products.”); City of St. Louis v.
 Cernicek, No. 02CC-1299, 2003 WL 22533578, at *2 (Mo. Cir. Ct. Oct. 15, 2003) (“The attempt
 here is not only to blur, but obliterate, the line that s[e]parates public nuisance claims from those
 based on product liability law.”).

                                                   14
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 25 of 32 Page ID #1166




 hazardous condition,” namely “affirmative promotion of lead paint for interior use, not their mere

 manufacture and distribution.” Cnty. of Santa Clara v. Atl. Richfield Co., 40 Cal. Rptr. 3d 313,

 328 (Ct. App. 2006); see also, e.g., Ileto v. Glock, Inc., 349 F.3d 1191, 1201, 1210-14 (9th Cir.

 2003) (allowing nuisance claim against firearms manufacturer where plaintiffs “d[id] not allege

 that the guns in question were defectively designed or manufactured or that the defendants failed

 to affix an adequate warning on the guns” but rather that defendants had allegedly generated the

 nuisance by “creating an illegal secondary market for guns”); Cincinnati v. Beretta U.S.A. Corp.,

 768 N.E.2d 1136, 1143 (Ohio 2002) (similar).

        Here, Plaintiffs are squarely attacking the product itself rather than some additional conduct

 that created any alleged nuisance. Indeed, many Plaintiffs appear to have nearly copied-and-pasted

 their core products liability theories under a public nuisance label, and they make no allegations

 of the type that have sufficed to elevate a products liability case into a nuisance case. 12

        B.      Plaintiffs Have Not Alleged Interference with a “Public Right.”

        Doctrinally, many states enforce this line between products liability and nuisance through

 the “public right” element of nuisance. City of Chi. v. Beretta U.S.A. Corp., 821 N.E.2d 1099,

 1114 (Ill. 2004). Indeed, every state whose law governs a Current Action asserting a nuisance

 claim maintains that traditional, definitional requirement, 13 and Plaintiffs cannot plead it.


        12
          For essentially the same reasons, public nuisance claims are precluded in the states that
 have comprehensive and exclusive statutory regimes governing products liability. On this point,
 Chevron incorporates the arguments in Part I.A of Syngenta’s motion to dismiss.
        13
          Russell Corp. v. Sullivan, 790 So. 2d 940, 951 (Ala. 2001); Hopi Tribe v. Ariz. Snowbowl
 Resort Ltd. P’ship, 430 P.3d 362, 365 (Ariz. 2018); People v. ConAgra Grocery Prods. Co., 17
 Cal. App. 5th 51, 79 (2017); Grayson v. Lockheed Martin Corp., No. 20-cv-1770, 2021 WL
 2873465, at *3 (M.D. Fla. May 13, 2021) (Florida law); Newton v. MJK/BJK, LLC, 469 P.3d 23,
 35 (Idaho 2020); City of Chi., 821 N.E.2d at 1113; City of Gary ex rel. King v. Smith & Wesson
 Corp., 801 N.E.2d 1222, 12333 (Ind. 2003); GLJ, Inc. v. United States, 505 F. Supp. 3d 863, 878
 (S.D. Iowa 2020) (Iowa law); Reg’l Airport Auth. of Louisville & Jefferson Cnty. v. LFG, LLC,
 255 F. Supp. 2d 688, 692 (W.D. Ky. 2003) (Kentucky law); Bd. of Comm’rs v. Tenn. Gas Pipeline
                                                   15
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 26 of 32 Page ID #1167




        A “public right” is one “common to all members of the general public,” like “the public

 health, the public safety, the public peace, the public comfort or the public convenience”—e.g.,

 the right to use “a public bathing beach.” Restatement (Second) of Torts § 821B(2)(a) & cmt. g

 (1979). It “is collective in nature and not like the individual right that everyone has not to be

 assaulted or defamed or defrauded or negligently injured.” Id. Invasion of “a public right”

 therefore requires “more than an aggregate of private rights by a large number of injured people.”

 Lead Indus., 951 A.2d at 448; see also City of Chi. v. Am. Cyanamid Co., 823 N.E.2d 126, 131

 (Ill. App. Ct. 2005) (public right is not “an assortment of claimed private individual rights” but

 rather “an indivisible resource shared by the public at large, like air, water, or public rights-of-

 way”); Golden v. Diocese of Buffalo, 184 A.D.3d 1176, 1177 (N.Y. App. Div. 2020) (“Conduct

 does not become a public nuisance merely because it interferes with ... a large number of persons.

 There must be some interference with a public right. A public right is one common to all members

 of the general public.”).




 Co., LLC, 29 F. Supp. 3d 808, 855 (E.D. La. 2014) (Louisiana law); Hanlin Grp., Inc. v. Int’l Mins.
 & Chem. Corp., 759 F. Supp. 925, 935 (D. Me. 1990) (Maine law); Capitol Props. Grp., LLC v.
 1247 Ctr. St., LLC, 770 N.W.2d 105, 110 (Mich. Ct. App. 2009); Leppink v. Water Gremlin Co.,
 944 N.W.2d 493, 499 (Minn. Ct. App. 2020); Comet Delta, Inc. v. Pate Stevedore Co. of
 Pascagoula, Inc., 521 So.2d 857, 860 (Miss. 1988); City of St. Louis v. Benjamin Moore & Co.,
 226 S.W.3d 110, 116 (Mo. 2007) (en banc); Fresh Air for the Eastside, Inc. v. Waste Mgmt. of
 N.Y., L.L.C., 405 F. Supp. 3d 408, 441 (W.D.N.Y. 2019) (New York law); Nix v. Chemours Co.
 FC, LLC, 456 F. Supp. 3d 748, 761 (E.D.N.C. 2019) (North Carolina law); Cherokee Nation v.
 McKesson Corp., No. 18-cv-056, 2021 WL 1181176, at *5 (E.D. Okla. Mar. 29, 2021) (Oklahoma
 law); Drayton v. City of Lincoln City, 260 P.3d 642, 645 (Or. Ct. App. 2011); City of Phila. v.
 Beretta U.S.A. Corp., 277 F.3d 415, 420 (3d Cir. 2002); Sadler v. State, 56 S.W.3d 508, 511 (Tenn.
 Ct. App. 2001); Louisiana v. Rowan Cos., 728 F. Supp. 2d 896, 905 (S.D. Tex. 2010) (Texas law);
 Moran v. Fed. Nat’l Mortg. Ass’n, No. 12-cv-212, 2012 WL 2919529, at *4 (E.D. Va. July 17,
 2012) (Virginia law); Kitsap Cnty. v. Kev, Inc., 720 P.2d 818, 821 (Wash. 1986) (en banc). In the
 Current Actions asserting public nuisance claims, the alleged exposures occurred in these 24 states,
 and their law presumptively governs under both the traditional lex loci delicti choice-of-law rule
 and the more modern “most significant relationship” standard. See generally Restatement (First)
 of Conflict of Laws §§ 377, 379 (1934); Restatement (Second) of Conflict of Laws § 146 (1971).

                                                 16
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 27 of 32 Page ID #1168




        The right to be free from a defective product is not a right common to all members of the

 general public. See Lead Indus., 951 A.2d at 448. Nor could the right here be conceived of as the

 right to public health. Interference with public health means things like “keeping diseased animals

 or the maintenance of a pond breeding malarial mosquitoes,” threatening the health of the public

 at large. Restatement (Second) of Torts § 821B cmt. b; see also, e.g., In re Methyl Tertiary Butyl

 Ether Prods. Liab. Litig., 457 F. Supp. 2d 298, 309 (S.D.N.Y. 2006) (contaminated aquifer). Even

 cases taking the broadest view of “public health” have still required an “epidemic” or “crisis”

 affecting wide swaths of the population—and imposing corresponding costs on the public fisc—

 before finding nuisance theories viable. E.g., In re Opioid Litig., No. 400000/2017, 2018 WL

 3115102, at *22 (N.Y. Sup. Ct. June 18, 2018). Here, paraquat is a product used only by certain

 individuals—specifically registered to do so—in the course of private employment. Even under

 Plaintiffs’ theory, there was no harm to the public at large. For that reason, Plaintiffs have not

 pleaded interference with public rights, and their public nuisance claims must be dismissed.

        C.      In Some States, the Nuisance Claims Also Fail Because Plaintiffs Have Not and
                Cannot Allege That Defendants “Controlled” the Paraquat.

        Some states have adopted another element of nuisance liability that independently defeats

 the claims. In 11 of the relevant states, Plaintiffs must allege that Defendants had “control over

 the instrumentality causing the alleged nuisance at the time the damage occurs.” Lead Indus., 951

 A.2d at 449. 14 It “would run contrary to notions of fair play” to hold sellers liable when “they lack

 direct control over how end-purchasers use” the product. City of Phila., 126 F. Supp. 2d at 911.


        14
           See Penelas v. Arms Tech., Inc., No. 99-1941, 1999 WL 1204353, at *4 (Fla. Cir. Ct.
 Dec. 13, 1999); Cobbley v. City of Challis, 139 P.3d 732, 736 (Idaho 2006); City of Bloomington
 v. Westinghouse Elec. Corp., 891 F.2d 611, 614 (7th Cir. 1989) (Indiana law); Bd. of Water Works
 Trs. of Des Moines v. SAC Cnty. Bd. of Supervisors, 890 N.W.2d 50, 63 (Iowa 2017); Mitchell v.
 Mich. Dep’t of Corr., 318 N.W. 2d 507, 508 (Mich. Ct. App. 1982); Appletree Square 1 Ltd. P’ship
 v. W.R. Grace & Co., 815 F. Supp. 1266, 1274 n.13 (D. Minn. 1993) (Minnesota law); Rosenfeld
 v. Thoele, 28 S.W.3d 446, 451 (Mo. Ct. App. 2000); Spitzer v. Sturm, Ruger & Co., 309 A.D.2d
                                                  17
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 28 of 32 Page ID #1169




        Here, Plaintiffs’ injuries allegedly resulted from paraquat application that occurred only

 after the product had left Defendants’ control and entered the stream of commerce. For this reason

 too, Plaintiffs’ claims legally fail in the states that impose a “control” element.

        For all of these reasons, the Court should dismiss the nuisance claims as a matter of law.

 The cases asserting such claims are identified in the Appendix at pp. 30-34. The claims subject to

 dismissal for the additional reason in Part II.C are separately denoted on the same chart.

 III.   CHEVRON MUST BE DISMISSED FROM ALL CLAIMS BASED ON POST-1990 EXPOSURES.

        Plaintiffs acknowledge in their pleadings that Chevron exited the paraquat market some 35

 years ago, in 1986. Nonetheless, some Plaintiffs have named Chevron as a Defendant in cases that

 allege injury based on exposures that did not begin until 1990 or later. Those claims approach the

 frivolous and should be dismissed under Iqbal’s pleading standard. Since Chevron stopped selling

 paraquat in 1986, there is simply no basis to draw a “reasonable inference that [Chevron] is liable”

 for injury allegedly caused by exposures many years later. Iqbal, 556 U.S. at 678.

        After all, “[i]t is ‘textbook tort law’ that a plaintiff seeking redress for a defendant’s legal

 wrong typically must prove but-for causation.” Comcast Corp. v. Nat’l Ass’n of African Am.-

 Owned Media, 140 S. Ct. 1009, 1014 (2020). The plaintiff “must demonstrate that, but for the

 defendant’s unlawful conduct, its alleged injury would not have occurred.” Id. This bedrock

 principle applies to all of the causes of action at issue in this MDL. E.g., Robertson v. Allied

 Signal, Inc., 914 F.2d 360 (3d Cir. 1990) (“proof of cause in fact” is required “in a products liability

 action”); Reybold Grp., Inc. v. Chemprobe Techs., Inc., 721 A.2d 1267, 1269 (Del. 1998) (same

 for breach of warranty); Price v. Philip Morris, Inc., 848 N.E.2d 1, 52 (Ill. 2005) (same for Illinois



 91, 97 (N.Y. App. Div. 2003); Burlington N. & Santa Fe Ry. Co. v. Grant, 505 F.3d 1013, 1026
 (10th Cir. 2007) (Oklahoma law); City of Phila., 277 F.3d at 422 (Pennsylvania law); Johnson
 Cnty. v. U.S. Gypsum Co., 580 F. Supp. 284, 294 (E.D. Tenn. 1984) (Tennessee law).

                                                   18
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 29 of 32 Page ID #1170




 Consumer Fraud Act). And Chevron could be the but-for cause of Plaintiffs’ injuries only if

 Chevron distributed or manufactured the paraquat that ultimately allegedly injured them.

        Yet Plaintiffs admit that Chevron exited the paraquat market in September 1986. See, e.g.,

 No. 21-pq-840, Compl. ¶ 44 (“In September 1986, ICI and CHEVRON entered into an agreement

 terminating their paraquat licensing and distribution agreement.”); No. 21-pq-835, Compl. ¶ 32 (In

 “September 1986 … ICI paid Chevron for the early termination of its rights under the paraquat

 licensing and distribution agreement.”); No. 21-pq-829, Compl. ¶ 115 (“The ICI-Chevron

 Chemical Agreements were renewed or otherwise remained in effect until about 1986.”).

        Given that admitted and undisputed timeline, it is implausible that Plaintiffs whose only

 exposure to paraquat postdated 1990—four years after Chevron left the market—were injured by

 paraquat distributed by Chevron. 15 At minimum, a plaintiff seeking to assert such a claim would

 need to plead additional facts making it reasonable to infer that the paraquat at issue, contrary to

 ordinary practice, sat on a shelf for years (or even decades) before it was applied. Absent such

 allegations, these Plaintiffs have at most alleged the “sheer possibility” of liability on Chevron’s

 part, which does not suffice to meet the pleading standard. Iqbal, 556 U.S. at 678.

        Plaintiffs’ only effort to address this deficiency is a boilerplate recitation that “Defendants

 and those with whom they were acting in concert manufactured and distributed the paraquat … to

 which Plaintiff … was exposed.” E.g., No. 21-pq-840, Compl. ¶ 18. But “conclusory allegations”

 that parties “acted in concert” do not meet the plausibility standard, Libbey v. Vill. of Atl. Beach,

 982 F. Supp. 2d 185, 215-16 (E.D.N.Y. 2013), particularly when the complaints expressly admit


        15
            Chevron reserves the right to later move for summary judgment or other relief based on
 failure to prove actual causation in cases alleging earlier exposures. For pleading purposes, this
 motion takes a conservative approach and does not seek dismissal for exposures between 1986 and
 1990, given the (unlikely) possibility that such exposures were attributable to Chevron products
 sold before 1986. After four years, however, that theory is surely implausible.

                                                  19
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 30 of 32 Page ID #1171




 the parties’ contractual relationship ended at a specific earlier time. This Court should therefore

 dismiss all post-1990 exposure claims against Chevron. See Appx. at pp. 35-36 (list).

        For similar reasons, certain of Plaintiffs’ claims against Chevron are time-barred even if

 claims against other Defendants are not. Specifically, in states where warranty or consumer

 protection claims accrue on delivery, all such claims against Chevron are necessarily barred, even

 if Plaintiffs allege recent or ongoing deliveries. No delivery by Chevron could have occurred after

 1986. E.g., Simply Thick, LLC v. Thermo Pac, LLC, No. 13-cv-1036, 2014 WL 3543403, at *5

 (E.D. Mo. July 17, 2014) (treating sale of factory as latest possible accrual of warranty claim). See

 Appx. at pp. 37-38 (list). Likewise, statutes of repose may bar suit against Chevron, even in cases

 where claims against other Defendants may remain timely due to recent or ongoing sales. E.g.,

 Yaccarino v. Midland Nat’l Life Ins. Co., No. 11-cv-5858, 2013 WL 3200500, at *9 n.9 (C.D. Cal.

 June 17, 2013) (for limitations defense, looking to date when defendant “stopped selling” product).

 Among the Current Actions, there are some such cases governed by the Illinois status of repose.

 Again, any sales by Chevron admittedly occurred before 1986, and the Illinois statute of repose

 has long expired on claims arising from those decades-old sales. See Appx. at pp. 38-39 (list).

                                          CONCLUSION
        For these reasons, the Court should dismiss the counts identified in the Appendix.16

        16
           In cases where all primary claims (in general or against Chevron) are subject to dismissal
 under either this motion or Syngenta’s motion, any derivative claims (e.g., for loss of consortium)
 must also be dismissed. Ramirez v. City of Chi., 129 N.E.3d 612, 619-20 (Ill. App. Ct. 2019)
 (“When the impaired spouse’s claim fails as a matter of law, the deprived spouse’s claim for loss
 of consortium must also fail.”); Vega-Santana v. Nat’l R.R. Passenger Corp., 956 F. Supp. 2d 556,
 562 (S.D.N.Y. 2013) (“[A] loss of consortium claim is a derivative action that depends on the
 viability of the primary cause of action.”). Likewise, if all that remains in a case (or against
 Chevron) is a claim for punitive damages, the case should be dismissed (or Chevron should be
 dismissed) because punitive damages are a remedy, not a cause of action. See, e.g., Crabtree ex
 rel. Kemp v. Est. of Crabtree, 837 N.E.2d 135, 137 (Ind. 2005) (“Punitive damages are a remedy,
 not a separate cause of action.”); Waltman v. Fahnestock & Co., 792 F. Supp. 31, 32 (E.D. Pa.
 1992) (“[P]unitive damages are a remedy, not a cause of action”). See Appx. at p. 40 (list).

                                                  20
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 31 of 32 Page ID #1172




 September 13, 2021                          Respectfully submitted,

                                             /s/ Leon F. DeJulius, Jr.
 Steven N. Geise                             Leon F. DeJulius, Jr.
 JONES DAY                                   Traci L. Lovitt
 4655 Executive Drive, Suite 1500            Sharyl A. Reisman
 San Diego, CA 92121                         JONES DAY
 Telephone: (858) 314-1200                   250 Vesey Street
 Fax: (844) 345-3178                         New York, NY 10281
 sngeise@jonesday.com                        Telephone: (212) 326-3939
                                             Fax: (212) 755-7306
 Joseph C. Orlet                             lfdejulius@jonesday.com
 Bryan Hopkins                               tlovitt@jonesday.com
 Megan Ann Scheiderer                        sareisman@jonesday.com
 HUSCH BLACKWELL LLP
 190 Carondelet Plaza, Suite 600             Jihan E. Walker
 St. Louis, MO 63105                         JONES DAY
 Telephone: (314) 480-1500                   77 West Wacker Drive, Suite 3500
 Fax: (314) 480-1505                         Chicago, IL 60601
 Joseph.Orlet@huschblackwell.com             Telephone: (312) 782-3939
 Bryan.Hopkins@huschblackwell.com            Fax: (312) 782-8585
 Megan.Scheiderer@huschblackwell.com         jihanwalker@jonesday.com

                              Counsel for Chevron U.S.A. Inc.




                                             21
Case 3:21-md-03004-NJR Document 351 Filed 09/13/21 Page 32 of 32 Page ID #1173




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 13, 2021, the foregoing was

 electronically filed using the CM/ECF system, which will send notification of such filing to all

 counsel of record.

                                                    /s/ Leon F. DeJulius, Jr.
                                                    Leon F. DeJulius, Jr.

                                                    Counsel for Chevron U.S.A. Inc.




                                               22
